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 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 SOUTHERN DISTRICT OF TEXAS

 Case number (if known):                                      Chapter you are filing under:
                                                                        Chapter 7
                                                                        Chapter 11
                                                                        Chapter 12
                                                                                                                               Check if this is an
                                                                        Chapter 13
                                                                                                                               amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                        About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       Steven                                                 Sandra
     government-issued picture
                                       First Name                                             First Name
     identification (for example,
     your driver's license or          Lee                                                    Juanita
     passport).                        Middle Name                                            Middle Name

                                       Wilson                                                 Wilson
     Bring your picture                Last Name                                              Last Name
     identification to your meeting
     with the trustee.                 Suffix (Sr., Jr., II, III)                             Suffix (Sr., Jr., II, III)


2.   All other names you               Steven                                                 Sandra
     have used in the last 8           First Name                                             First Name
     years                             L                                                      J
                                       Middle Name                                            Middle Name
     Include your married or
                                       Wilson                                                 Wilson
     maiden names.
                                       Last Name                                              Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   3        2       1    2   xxx – xx –                   5         3        0      7
     number or federal                 OR                                                     OR
     Individual Taxpayer
     Identification number             9xx – xx –                                             9xx – xx –
     (ITIN)

4.   Any business names                       I have not used any business names or EINs.            I have not used any business names or EINs.
     and Employer
     Identification Numbers            Massage Heights
     (EIN) you have used in            Business name                                          Business name
     the last 8 years
                                       Business name                                          Business name
     Include trade names and
     doing business as names
                                       Business name                                          Business name




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 1
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Debtor 1     Steven Lee Wilson
Debtor 2     Sandra Juanita Wilson                                                         Case number (if known)

                                  About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

                                     4     7   –     3    3    5     1     1    5     5                    –
                                  EIN                                                          EIN
                                               –                                                           –
                                  EIN                                                          EIN
5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                  12510 Willow Breeze Dr
                                  Number       Street                                          Number      Street




                                  Tomball                          TX      77377
                                  City                             State   ZIP Code            City                           State    ZIP Code

                                  Harris
                                  County                                                       County

                                  If your mailing address is different from                    If Debtor 2's mailing address is different
                                  the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                  court will send any notices to you at this                   will send any notices to you at this mailing
                                  mailing address.                                             address.



                                  Number       Street                                          Number      Street


                                  P.O. Box                                                     P.O. Box


                                  City                             State   ZIP Code            City                           State    ZIP Code


6.   Why you are choosing         Check one:                                                   Check one:
     this district to file for
     bankruptcy                           Over the last 180 days before filing this                   Over the last 180 days before filing this
                                          petition, I have lived in this district longer              petition, I have lived in this district longer
                                          than in any other district.                                 than in any other district.

                                          I have another reason. Explain.                             I have another reason. Explain.
                                          (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the          Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you         for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                               Chapter 7

                                         Chapter 11

                                         Chapter 12

                                         Chapter 13




Official Form 101                        Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
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Debtor 1     Steven Lee Wilson
Debtor 2     Sandra Juanita Wilson                                                 Case number (if known)

8.   How you will pay the fee        I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                     court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                     pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                     behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                     I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                     Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                     I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                     By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                     than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                     fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                     Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for              No
     bankruptcy within the
     last 8 years?                   Yes.

                                District                                               When                    Case number
                                                                                              MM / DD / YYYY
                                District                                               When                    Case number
                                                                                              MM / DD / YYYY
                                District                                               When                    Case number
                                                                                              MM / DD / YYYY

10. Are any bankruptcy               No
    cases pending or being
    filed by a spouse who is         Yes.
    not filing this case with
                                Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an           District                                               When                    Case number,
    affiliate?                                                                                MM / DD / YYYY   if known


                                Debtor                                                             Relationship to you

                                District                                               When                    Case number,
                                                                                              MM / DD / YYYY   if known

11. Do you rent your                 No.    Go to line 12.
    residence?                       Yes. Has your landlord obtained an eviction judgment against you?

                                                 No. Go to line 12.
                                                 Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                 and file it as part of this bankruptcy petition.




Official Form 101                     Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
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Debtor 1     Steven Lee Wilson
Debtor 2     Sandra Juanita Wilson                                                     Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor             No. Go to Part 4.
    of any full- or part-time             Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as               Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                   City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                Check the appropriate box to describe your business:
    to this petition.
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business         or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                          No.   I am not filing under Chapter 11.

                                          No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                               Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                No
    property that poses or is             Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                     If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or              Where is the property?
    a building that needs urgent                                           Number   Street
    repairs?



                                                                           City                                     State         ZIP Code




Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                          page 4
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Debtor 1     Steven Lee Wilson
Debtor 2     Sandra Juanita Wilson                                                       Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a           I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                   Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                   Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.




Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                          page 5
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Debtor 1     Steven Lee Wilson
Debtor 2     Sandra Juanita Wilson                                                      Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you      16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                  as "incurred by an individual primarily for a personal, family, or household purpose."
                                                 No. Go to line 16b.
                                                 Yes. Go to line 17.

                                   16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                                No. Go to line 16c.
                                                Yes. Go to line 17.

                                   16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                            No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                          No
    are paid that funds will be
                                                     Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                 1-49                             1,000-5,000                           25,001-50,000
    you estimate that you                 50-99                            5,001-10,000                          50,001-100,000
    owe?                                  100-199                          10,001-25,000                         More than 100,000
                                          200-999

19. How much do you                       $0-$50,000                       $1,000,001-$10 million                $500,000,001-$1 billion
    estimate your assets to               $50,001-$100,000                 $10,000,001-$50 million               $1,000,000,001-$10 billion
    be worth?                             $100,001-$500,000                $50,000,001-$100 million              $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million             More than $50 billion

20. How much do you                       $0-$50,000                       $1,000,001-$10 million                $500,000,001-$1 billion
    estimate your liabilities to          $50,001-$100,000                 $10,000,001-$50 million               $1,000,000,001-$10 billion
    be?                                   $100,001-$500,000                $50,000,001-$100 million              $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million             More than $50 billion

 Part 7:      Sign Below
For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                   and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                   or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                   proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                   fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                   connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                   or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                   X /s/ Steven Lee Wilson                                     X /s/ Sandra Juanita Wilson
                                      Steven Lee Wilson, Debtor 1                                 Sandra Juanita Wilson, Debtor 2

                                      Executed on 05/08/2019                                      Executed on 05/08/2019
                                                  MM / DD / YYYY                                              MM / DD / YYYY


Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                            page 6
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Debtor 1     Steven Lee Wilson
Debtor 2     Sandra Juanita Wilson                                                  Case number (if known)

For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one              eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by   the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need    certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.              is incorrect.



                                X /s/ J. Thomas Black                                                 Date 05/08/2019
                                     Signature of Attorney for Debtor                                      MM / DD / YYYY


                                     J. Thomas Black
                                     Printed name
                                     J. Thomas Black, P.C.
                                     Firm Name
                                     2600 S. Gessner, Suite 110
                                     Number         Street




                                     Houston                                                  TX              77063
                                     City                                                     State           ZIP Code


                                     Contact phone (713) 772-8037                   Email address tom@jthomasblack.com


                                     02373400                                                 TX
                                     Bar number                                               State




Official Form 101                      Voluntary Petition for Individuals Filing for Bankruptcy                                           page 7
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  Fill in this information to identify your case and this filing:
  Debtor 1               Steven                      Lee                 Wilson
                         First Name                  Middle Name         Last Name

  Debtor 2            Sandra                         Juanita             Wilson
  (Spouse, if filing) First Name                     Middle Name         Last Name


  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                            Check if this is an
  (if known)
                                                                                                                            amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                              12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                       What is the property?                         Do not deduct secured claims or exemptions. Put the
12510 Willow Breeze Dr                                     Check all that apply.                         amount of any secured claims on Schedule D:
Street address, if available, or other description             Single-family home                        Creditors Who Have Claims Secured by Property.
                                                               Duplex or multi-unit building             Current value of the       Current value of the
                                                               Condominium or cooperative                entire property?           portion you own?
Tomball                          TX       77377                Manufactured or mobile home                         $372,000.00                $372,000.00
City                             State    ZIP Code             Land
                                                               Investment property                       Describe the nature of your ownership
                                                               Timeshare                                 interest (such as fee simple, tenancy by the
Harris                                                                                                   entireties, or a life estate), if known.
                                                               Other
County
                                                           Who has an interest in the property?
                                                                                                         Homestead
12510 Willow Breeze Dr, Tomball, TX
                                                           Check one.
77377
                                                               Debtor 1 only                                Check if this is community property
LT 16 BLK 1 VILLAGE CREEK SEC 7
                                                               Debtor 2 only                                (see instructions)
(Tax Value $371,948)
                                                               Debtor 1 and Debtor 2 only
                                                               At least one of the debtors and another

                                                           Other information you wish to add about this item, such as local
                                                           property identification number:




Official Form 106A/B                                                   Schedule A/B: Property                                                       page 1
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Debtor 1         Steven Lee Wilson
Debtor 2         Sandra Juanita Wilson                                                                 Case number (if known)


1.2.                                                     What is the property?                               Do not deduct secured claims or exemptions. Put the
Timeshare -Orlando, FL                                   Check all that apply.                               amount of any secured claims on Schedule D:
Timeshare @ Hilton GVC Parc Soleil,                           Single-family home                             Creditors Who Have Claims Secured by Property.
Orlando, FL                                                   Duplex or multi-unit building                  Current value of the            Current value of the
                                                              Condominium or cooperative                     entire property?                portion you own?
                                                              Manufactured or mobile home                                   $2,000.00                   $2,000.00
County                                                        Land
                                                              Investment property                            Describe the nature of your ownership
                                                              Timeshare                                      interest (such as fee simple, tenancy by the
                                                              Other                                          entireties, or a life estate), if known.

                                                         Who has an interest in the property?
                                                                                                             Timeshare
                                                         Check one.
                                                              Debtor 1 only                                       Check if this is community property
                                                              Debtor 2 only                                       (see instructions)
                                                              Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another

                                                         Other information you wish to add about this item, such as local
                                                         property identification number:

1.3.                                                     What is the property?                               Do not deduct secured claims or exemptions. Put the
Timeshare-Breckenridge, CO                               Check all that apply.                               amount of any secured claims on Schedule D:
Timeshare: Hilton GVC Brecken Ridge,                          Single-family home                             Creditors Who Have Claims Secured by Property.
Breckenridge, CO                                              Duplex or multi-unit building                  Current value of the            Current value of the
                                                              Condominium or cooperative                     entire property?                portion you own?
                                                              Manufactured or mobile home                                   $2,500.00                   $2,500.00
County                                                        Land
                                                              Investment property                            Describe the nature of your ownership
                                                              Timeshare                                      interest (such as fee simple, tenancy by the
                                                              Other                                          entireties, or a life estate), if known.

                                                         Who has an interest in the property?
                                                                                                             Timeshare
                                                         Check one.
                                                              Debtor 1 only                                       Check if this is community property
                                                              Debtor 2 only                                       (see instructions)
                                                              Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another

                                                         Other information you wish to add about this item, such as local
                                                         property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................           $376,500.00


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 2
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Debtor 1         Steven Lee Wilson
Debtor 2         Sandra Juanita Wilson                                                               Case number (if known)


3.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     BMW                          Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    X3
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     2014
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 43,100                                 At least one of the debtors and another            $20,000.00                           $20,000.00
Other information:
2014 BMW X3 (approx. 43100 miles)                           Check if this is community property
                                                            (see instructions)
SURRENDER
3.2.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     BMW                          Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    528i
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     2016                                                                      entire property?                       portion you own?
                                                            Debtor 1 and Debtor 2 only
Approximate mileage: 35,000                                 At least one of the debtors and another            $30,000.00                           $30,000.00
Other information:
2016 BMW 528i (approx. 35000 miles)                         Check if this is community property
                                                            (see instructions)
SURRENDER 11/2018
3.3.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     GMC                          Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    Jimmie
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     1994
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 71,000                                 At least one of the debtors and another                $250.00                              $250.00
Other information:
1994 GMC Jimmie                                             Check if this is community property
                                                            (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................            $50,250.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               See continuation page(s).                                                                                              $5,165.00

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............
                               See continuation page(s).                                                                                              $1,940.00

8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............
                               See continuation page(s).                                                                                              $6,600.00

Official Form 106A/B                                                 Schedule A/B: Property                                                                page 3
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Debtor 1          Steven Lee Wilson
Debtor 2          Sandra Juanita Wilson                                                                                              Case number (if known)

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                canoes and kayaks; carpentry tools; musical instruments
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                                                $1,850.00

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                                                $1,500.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                                                $3,500.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............
                                Dog                                                                                                                                                                              $0.00

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                  $20,555.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                        Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                        portion you own?
                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                        claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................               $14.00

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                   Institution name:

             17.1.        Checking account:                     Resource One Credit Union
                                                                Checking account #2008
                                                                *opened 12/20/2018                                                                                                                             $88.01
             17.2.        Savings account:                      Resource One Credit Union
                                                                Savings account #4060
                                                                *opened 12/20/2018                                                                                                                             $25.00


Official Form 106A/B                                                                       Schedule A/B: Property                                                                                                  page 4
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Debtor 1         Steven Lee Wilson
Debtor 2         Sandra Juanita Wilson                                                              Case number (if known)

            17.3.       Other financial account: Social Security Card #4380
                                                         Debit Card                                                               $1,999.87
            17.4.       Other financial account: Social Security #8376
                                                         Debit Card                                                                 $10.14
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes.............................. Institution or issuer name:

                                               Spencer Edwards, Inc. Brokerage Account - broker-dealer's registration
                                               terminated by FINRA March 1, 2019. No one answering at firm; now may
                                               be held by Alpine Securities (stock in account is Skye Petroleum (SKPO)
                                               penny stock, very little market and would be costly to sell).                      $3,300.00
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                   % of ownership:

                                               S&S Wilson Inc, dba Massage Heights (closed)
                                               no assets-sold equipment to pay off employees
                                               two bank accounts -0- (garnished)                                     100%            $0.00
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:         Institution name:
                                           Pension plan:            $523.88 Pension per month                                        $0.00
                                           IRA:                     Husband's IRA with Investco                                     $45.27
                                           IRA:                     Wife's IRA with Investco (zero)                                  $0.00
                                           IRA:                     Husband's Rollover IRA                                        $1,766.09
                                           Retirement account:      Fidelity Investments Retirement account                          $0.42
                                           Retirement account:      $2191 Social Security per month                                  $0.00
                                           Retirement account:      $1038 Social Security per month                                  $0.00
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                     Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:




Official Form 106A/B                                                       Schedule A/B: Property                                     page 5
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Debtor 1        Steven Lee Wilson
Debtor 2        Sandra Juanita Wilson                                                            Case number (if known)

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific     Two Franchises; Forfeited 2018                                                                                       $0.00
           information about them

Money or property owed to you?                                                                                                          Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                                    Federal:
           about them, including whether
           you already filed the returns                                                                                     State:
           and the tax years.....................................
                                                                                                                             Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                       Alimony:

                                                                                                                Maintenance:

                                                                                                                Support:

                                                                                                                Divorce settlement:

                                                                                                                Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance
           company of each policy
           and list its value................     Company name:                               Beneficiary:                        Surrender or refund value:

                                                  Term Life Insurance
                                                  Face Value $100,000                         Spouse                                                   $0.00




Official Form 106A/B                                                Schedule A/B: Property                                                              page 6
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Debtor 1         Steven Lee Wilson
Debtor 2         Sandra Juanita Wilson                                                                               Case number (if known)

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
            No
            Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............

35. Any financial assets you did not already list

            No
            Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................     $7,248.80


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................

41. Inventory

            No
            Yes. Describe................

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
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Debtor 1          Steven Lee Wilson
Debtor 2          Sandra Juanita Wilson                                                                              Case number (if known)

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................

48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................

50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 8
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Debtor 1           Steven Lee Wilson
Debtor 2           Sandra Juanita Wilson                                                                                      Case number (if known)



54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                                          $0.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $376,500.00

56. Part 2: Total vehicles, line 5                                                                                  $50,250.00

57. Part 3: Total personal and household items, line 15                                                             $20,555.00

58. Part 4: Total financial assets, line 36                                                                           $7,248.80

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................             $78,053.80              property total                 +           $78,053.80


63. Total of all property on Schedule A/B.                                                                                                                                                  $454,553.80
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                   page 9
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Debtor 1     Steven Lee Wilson
Debtor 2     Sandra Juanita Wilson                                         Case number (if known)


6.   Household goods and furnishings (details):

     Office Suplies & Pens                                                                          $300.00

     Towels and Linens                                                                              $200.00

     Toilette Articles                                                                              $100.00

     Washer                                                                                          $75.00

     Dryer                                                                                           $50.00

     Freezer                                                                                         $50.00

     Garden Tools                                                                                    $50.00

     Hand Tools                                                                                     $100.00

     Electric Tools                                                                                  $50.00

     Work Bench                                                                                      $50.00

     Bed                                                                                             $50.00

     Night Stand                                                                                     $50.00

     Lamps                                                                                           $25.00

     Rocker                                                                                          $25.00

     Cedar Chest                                                                                     $50.00

     Bed                                                                                            $200.00

     Chest of Drawers                                                                                $50.00

     Night Stands                                                                                    $50.00

     Lamp                                                                                            $50.00

     Sewing Machine                                                                                  $25.00

     Bed                                                                                            $100.00

     Dresser                                                                                         $50.00

     Chest of Drawers                                                                               $100.00

     Night Stands                                                                                    $50.00

     Lamps                                                                                           $75.00

     Recliner(2)                                                                                    $300.00

     Bookcase                                                                                        $50.00

     Stove                                                                                          $100.00

     Refrigerators                                                                                  $250.00

     Microwave Oven                                                                                 $100.00

     Dishwasher                                                                                     $100.00

     Small Appliances                                                                               $300.00

     Pots and Pans                                                                                  $200.00

     Dishes and Glassware                                                                           $100.00



Official Form 106A/B                              Schedule A/B: Property                              page 10
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Debtor 1      Steven Lee Wilson
Debtor 2      Sandra Juanita Wilson                               Case number (if known)

     Flatware                                                                                $25.00

     Table and Chairs                                                                       $300.00

     China                                                                                  $100.00

     China Cabinet                                                                          $100.00

     Buffet                                                                                  $20.00

     Sofas                                                                                  $300.00

     Sectional Sofa                                                                         $400.00

     Recliners                                                                              $200.00

     Love Seat                                                                               $50.00

     Rocking Chair                                                                           $20.00

     Coffee Tables                                                                          $100.00

     End Table                                                                               $10.00

     Bookcase                                                                                $50.00

     Lamps                                                                                   $15.00

7.   Electronics (details):

     TV                                                                                      $25.00

     TV                                                                                     $100.00

     TV                                                                                     $100.00

     TV                                                                                      $15.00

     TVs                                                                                    $200.00

     Stereos                                                                                $500.00

     DVD Player                                                                              $75.00

     Computer/Printer                                                                       $300.00

     Tablets                                                                                $100.00

     Cell Phones(2)                                                                         $150.00

     Gaming Console                                                                          $25.00

     Games                                                                                   $50.00

     Camera & Equipment                                                                     $300.00

8.   Collectibles of value (details):

     Thomas Kinkade Prints                                                                  $500.00

     Coca Cola Collection                                                                   $500.00

     Thomas Kinkade Prints                                                                  $500.00

     Thomas Kinkade Canvas Prints                                                          $1,350.00

     Thomas Kinkade Canvas Prints                                                          $1,350.00

     Thomas Kinkade Canvas Prints                                                          $1,200.00

     Thomas Kinkade Canvas Prints                                                          $1,200.00

Official Form 106A/B                     Schedule A/B: Property                               page 11
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Debtor 1     Steven Lee Wilson
Debtor 2     Sandra Juanita Wilson                                          Case number (if known)

9.   Equipment for sports and hobbies (details):

     Camera Equipment                                                                                 $300.00

     Treadmill                                                                                        $300.00

     Piano                                                                                            $200.00

     Golf Equipment                                                                                   $400.00

     Bicycles                                                                                         $500.00

     Pool Table                                                                                       $150.00

11. Clothes (details):

     Debtor's Clothing, Shoes and Accessories                                                         $500.00

     Joint Debtor's Clothing, Shoes and Accessories                                                  $1,000.00

12. Jewelry (details):

     Debtor's Watches                                                                                 $500.00

     Debtor's Wedding Band                                                                            $400.00

     Debtor's Rings                                                                                   $200.00

     Joint Debtor's Watches                                                                           $200.00

     Joint Debtor's Wedding Band                                                                     $1,000.00

     Joint Debtor's Rings                                                                             $500.00

     Joint Debtor's Bracelets                                                                         $200.00

     Costume Jewelry                                                                                  $500.00




Official Form 106A/B                               Schedule A/B: Property                               page 12
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 Fill in this information to identify your case:
 Debtor 1             Steven              Lee                    Wilson
                      First Name          Middle Name            Last Name
 Debtor 2            Sandra               Juanita                Wilson
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number                                                                                                         amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $372,000.00                 $312,616.96         Const. art. 16 §§ 50, 51, Texas
12510 Willow Breeze Dr, Tomball, TX                                               100% of fair market     Prop. Code §§ 41.001-.002
77377                                                                             value, up to any
LT 16 BLK 1 VILLAGE CREEK SEC 7                                                   applicable statutory
(Tax Value $371,948)                                                              limit
Line from Schedule A/B: 1.1

Brief description:                                           $250.00                    $250.00           Tex. Prop. Code §§ 42.001(a),
1994 GMC Jimmie (approx. 71,000 miles)                                            100% of fair market     42.002(a)(9)
                                                                                  value, up to any
Line from Schedule A/B:        3.3
                                                                                  applicable statutory
                                                                                  limit




3.   Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
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Debtor 1      Steven Lee Wilson
Debtor 2      Sandra Juanita Wilson                                                  Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $300.00                  $300.00           Tex. Prop. Code §§ 42.001(a),
Office Suplies & Pens                                                        100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
Towels and Linens                                                            100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
Toilette Articles                                                            100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $75.00                    $75.00           Tex. Prop. Code §§ 42.001(a),
Washer                                                                       100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
Dryer                                                                        100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
Freezer                                                                      100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
Garden Tools                                                                 100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
Hand Tools                                                                   100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
Electric Tools                                                               100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
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Debtor 1      Steven Lee Wilson
Debtor 2      Sandra Juanita Wilson                                                  Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
Work Bench                                                                   100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
Bed                                                                          100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
Night Stand                                                                  100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $25.00                    $25.00           Tex. Prop. Code §§ 42.001(a),
Lamps                                                                        100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $25.00                    $25.00           Tex. Prop. Code §§ 42.001(a),
Rocker                                                                       100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
Cedar Chest                                                                  100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
Bed                                                                          100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
Chest of Drawers                                                             100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
Night Stands                                                                 100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
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Debtor 1      Steven Lee Wilson
Debtor 2      Sandra Juanita Wilson                                                  Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
Lamp                                                                         100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $25.00                    $25.00           Tex. Prop. Code §§ 42.001(a),
Sewing Machine                                                               100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
Bed                                                                          100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
Dresser                                                                      100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
Chest of Drawers                                                             100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
Night Stands                                                                 100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $75.00                    $75.00           Tex. Prop. Code §§ 42.001(a),
Lamps                                                                        100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $300.00                  $300.00           Tex. Prop. Code §§ 42.001(a),
Recliner(2)                                                                  100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
Bookcase                                                                     100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 4
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Debtor 1      Steven Lee Wilson
Debtor 2      Sandra Juanita Wilson                                                  Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
Stove                                                                        100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $250.00                  $250.00           Tex. Prop. Code §§ 42.001(a),
Refrigerators                                                                100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
Microwave Oven                                                               100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
Dishwasher                                                                   100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $300.00                  $300.00           Tex. Prop. Code §§ 42.001(a),
Small Appliances                                                             100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
Pots and Pans                                                                100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
Dishes and Glassware                                                         100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $25.00                    $25.00           Tex. Prop. Code §§ 42.001(a),
Flatware                                                                     100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $300.00                  $300.00           Tex. Prop. Code §§ 42.001(a),
Table and Chairs                                                             100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 5
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Debtor 1      Steven Lee Wilson
Debtor 2      Sandra Juanita Wilson                                                  Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
China                                                                        100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
China Cabinet                                                                100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $20.00                    $20.00           Tex. Prop. Code §§ 42.001(a),
Buffet                                                                       100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $300.00                  $300.00           Tex. Prop. Code §§ 42.001(a),
Sofas                                                                        100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $400.00                  $400.00           Tex. Prop. Code §§ 42.001(a),
Sectional Sofa                                                               100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
Recliners                                                                    100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
Love Seat                                                                    100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $20.00                    $20.00           Tex. Prop. Code §§ 42.001(a),
Rocking Chair                                                                100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
Coffee Tables                                                                100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 6
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Debtor 1      Steven Lee Wilson
Debtor 2      Sandra Juanita Wilson                                                  Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $10.00                    $10.00           Tex. Prop. Code §§ 42.001(a),
End Table                                                                    100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
Bookcase                                                                     100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $15.00                    $15.00           Tex. Prop. Code §§ 42.001(a),
Lamps                                                                        100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $25.00                    $25.00           Tex. Prop. Code §§ 42.001(a),
TV                                                                           100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
TV                                                                           100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
TV                                                                           100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $15.00                    $15.00           Tex. Prop. Code §§ 42.001(a),
TV                                                                           100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
TVs                                                                          100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
Stereos                                                                      100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 7
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Debtor 1      Steven Lee Wilson
Debtor 2      Sandra Juanita Wilson                                                  Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $75.00                    $75.00           Tex. Prop. Code §§ 42.001(a),
DVD Player                                                                   100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $300.00                  $300.00           Tex. Prop. Code §§ 42.001(a),
Computer/Printer                                                             100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
Tablets                                                                      100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $150.00                  $150.00           Tex. Prop. Code §§ 42.001(a),
Cell Phones(2)                                                               100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $25.00                    $25.00           Tex. Prop. Code §§ 42.001(a),
Gaming Console                                                               100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
Games                                                                        100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $300.00                  $300.00           Tex. Prop. Code §§ 42.001(a),
Camera & Equipment                                                           100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
Thomas Kinkade Prints                                                        100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     8
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
Coca Cola Collection                                                         100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     8
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 8
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Debtor 1      Steven Lee Wilson
Debtor 2      Sandra Juanita Wilson                                                  Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
Thomas Kinkade Prints                                                        100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     8
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,350.00                $1,350.00          Tex. Prop. Code §§ 42.001(a),
Thomas Kinkade Canvas Prints                                                 100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     8
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,350.00                $1,350.00          Tex. Prop. Code §§ 42.001(a),
Thomas Kinkade Canvas Prints                                                 100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     8
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,200.00                $1,200.00          Tex. Prop. Code §§ 42.001(a),
Thomas Kinkade Canvas Prints                                                 100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     8
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,200.00                $1,200.00          Tex. Prop. Code §§ 42.001(a),
Thomas Kinkade Canvas Prints                                                 100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     8
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $300.00                  $300.00           Tex. Prop. Code §§ 42.001(a),
Camera Equipment                                                             100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $300.00                  $300.00           Tex. Prop. Code §§ 42.001(a),
Treadmill                                                                    100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
Piano                                                                        100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $400.00                  $400.00           Tex. Prop. Code §§ 42.001(a),
Golf Equipment                                                               100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 9
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Debtor 1      Steven Lee Wilson
Debtor 2      Sandra Juanita Wilson                                                  Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
Bicycles                                                                     100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $150.00                  $150.00           Tex. Prop. Code §§ 42.001(a),
Pool Table                                                                   100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
Debtor's Clothing, Shoes and Accessories                                     100% of fair market    42.002(a)(5)
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,000.00                $1,000.00          Tex. Prop. Code §§ 42.001(a),
Joint Debtor's Clothing, Shoes and                                           100% of fair market    42.002(a)(5)
Accessories                                                                  value, up to any
Line from Schedule A/B:  11                                                  applicable statutory
                                                                             limit

Brief description:                                       $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
Debtor's Watches                                                             100% of fair market    42.002(a)(6)
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $400.00                  $400.00           Tex. Prop. Code §§ 42.001(a),
Debtor's Wedding Band                                                        100% of fair market    42.002(a)(6)
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
Debtor's Rings                                                               100% of fair market    42.002(a)(6)
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
Joint Debtor's Watches                                                       100% of fair market    42.002(a)(6)
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,000.00                $1,000.00          Tex. Prop. Code §§ 42.001(a),
Joint Debtor's Wedding Band                                                  100% of fair market    42.002(a)(6)
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                        page 10
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Debtor 1      Steven Lee Wilson
Debtor 2      Sandra Juanita Wilson                                                  Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
Joint Debtor's Rings                                                         100% of fair market    42.002(a)(6)
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
Joint Debtor's Bracelets                                                     100% of fair market    42.002(a)(6)
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
Costume Jewelry                                                              100% of fair market    42.002(a)(6)
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $0.00                     $0.00           Tex. Prop. Code §§ 42.001(a),
Dog                                                                          100% of fair market    42.002(a)(11)
                                                                             value, up to any
Line from Schedule A/B:    13
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,999.87                $1,999.87          42 U.S.C. § 407
Social Security Card #4380                                                   100% of fair market
Debit Card                                                                   value, up to any
Line from Schedule A/B: 17.3                                                 applicable statutory
                                                                             limit

Brief description:                                       $10.14                    $10.14           42 U.S.C. § 407
Social Security #8376                                                        100% of fair market
Debit Card                                                                   value, up to any
Line from Schedule A/B:   17.4                                               applicable statutory
                                                                             limit

Brief description:                                        $0.42                     $0.42           Tex. Prop. Code § 42.0021
Fidelity Investments Retirement account                                      100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $0.00                     $0.00           Tex. Prop. Code § 42.0021
$523.88 Pension per month                                                    100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $0.00                     $0.00           42 U.S.C. § 407
$2191 Social Security per month                                              100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                        page 11
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Debtor 1      Steven Lee Wilson
Debtor 2      Sandra Juanita Wilson                                                  Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                        $0.00                     $0.00           42 U.S.C. § 407
$1038 Social Security per month                                              100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $45.27                    $45.27           Tex. Prop. Code § 42.0021
Husband's IRA with Investco                                                  100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $0.00                     $0.00           Tex. Prop. Code § 42.0021
Wife's IRA with Investco (zero)                                              100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,766.09                $1,766.09          Tex. Prop. Code § 42.0021
Husband's Rollover IRA                                                       100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $0.00                     $0.00           Tex. Ins. Code §§ 1108.001,
Term Life Insurance                                                          100% of fair market    1108.051
Face Value $100,000                                                          value, up to any
Line from Schedule A/B:    31                                                applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                        page 12
                      Case 19-32685 Document 1 Filed in TXSB on 05/08/19 Page 32 of 100


  Fill in this information to identify your case:
  Debtor 1             Steven                Lee                    Wilson
                       First Name            Middle Name            Last Name

  Debtor 2            Sandra                 Juanita                Wilson
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                       Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                            $47,635.00              $30,000.00            $17,635.00
BMW Financial Services
Creditor's name
                                                 2016 BMW 528i (approx.
Attn: Bankruptcy Dept                            35000 miles)
Number       Street
PO Box 3608
                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
Dublin                   OH      43016               Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Automobile
   to a community debt
Date debt was incurred                           Last 4 digits of account number        5     1    2    0
SURRENDERED 11/2018




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $47,635.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                            page 1
                    Case 19-32685 Document 1 Filed in TXSB on 05/08/19 Page 33 of 100

Debtor 1      Steven Lee Wilson
Debtor 2      Sandra Juanita Wilson                                                       Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                            $27,204.00              $20,000.00         $7,204.00
BMW Financial Services                        2014 BMW X3 (approx. 43100
Creditor's name
Attn: Bankruptcy Dept                         miles)
Number     Street
PO Box 3608
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Dublin                  OH      43016             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Automobile
   to a community debt
Date debt was incurred                        Last 4 digits of account number        0     7    6    8
SURRENDER 3/2019
  2.3                                         Describe the property that
                                              secures the claim:                               $2,014.37              $2,000.00           $14.37
Grand Vacations Servies, LLC
Creditor's name
                                              Timeshare -Orlando, FL
6355 Metrowest Blvd, Ste. 180
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Orlando                 FL      32835             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Timeshare Maintenance Fees
   to a community debt
Date debt was incurred                        Last 4 digits of account number        3     3    3    6




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $29,218.37

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2
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Debtor 1      Steven Lee Wilson
Debtor 2      Sandra Juanita Wilson                                                       Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.4                                         Describe the property that
                                              secures the claim:                               $3,837.07              $2,500.00        $1,337.07
Grand Vacations Servies, LLC                  Timeshare-Breckenridge, CO
Creditor's name
6355 Metrowest Blvd, Ste. 180
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Orlando                 FL      32835             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Timeshare Maintenance Fees
   to a community debt
Date debt was incurred                        Last 4 digits of account number        3     5    8    1

  2.5                                         Describe the property that
                                              secures the claim:                               $1,361.25                  $0.00        $1,361.25
Linebarger Goggan Blair & Sampson, LLP
Creditor's name
                                   S&S Wilson Inc, dba Massage
103 W. Phillips Street                        Heights
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Conroe                  TX      77301             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Property Taxes
   to a community debt
Date debt was incurred                        Last 4 digits of account number        0     2    2    8
BUSINESS




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $5,198.32

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3
                    Case 19-32685 Document 1 Filed in TXSB on 05/08/19 Page 35 of 100

Debtor 1      Steven Lee Wilson
Debtor 2      Sandra Juanita Wilson                                                       Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.6                                         Describe the property that
                                              secures the claim:                            $59,383.04             $372,000.00
Longbridge                                    12510 Willow Breeze Dr,
Creditor's name
PO Box 40724                                  Tomball, TX 77377
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Lansing                 MI      48901-7924        Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Reverse Mortgage
   to a community debt
Date debt was incurred                        Last 4 digits of account number        1     1    5    6
No ongoing payments due: Reverse Mortgage
  2.7                                         Describe the property that
                                              secures the claim:                                $648.10                 $300.00          $348.10
Star Furniture
Creditor's name
                                              Two Recliners
P. O. Box 219169
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Houston                 TX      77218             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Purchase Money
   to a community debt
Date debt was incurred                        Last 4 digits of account number        1     7    3    2




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $60,031.14

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 4
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Debtor 1       Steven Lee Wilson
Debtor 2       Sandra Juanita Wilson                                                      Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.8                                         Describe the property that
                                              secures the claim:                           $103,875.00                    $0.00      $103,875.00
Wells Fargo Home Mortgage                     20118 Mammouth Falls,
Creditor's name
3476 Stateview Blvd                           Tomball, TX
Number      Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Fort Mill               SC      29715-7200        Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Mortgage Loan
   to a community debt
Date debt was incurred                        Last 4 digits of account number        4     7    3    3
Co-Signed for daughter; property belongs to daughter, she lives at the property and pays the mortgage




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $103,875.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                         $245,957.83

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 5
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Debtor 1       Steven Lee Wilson
Debtor 2       Sandra Juanita Wilson                                                   Case number (if known)

 Part 2:        List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and
then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Part 1,
list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1, do not fill out or
submit this page.


  1
        BMW Financial Services NA LLC                                          On which line in Part 1 did you enter the creditor?      2.1
        Name
        PO Box 201347                                                          Last 4 digits of account number
        Number       Street




        Arlington                                TX      76006
        City                                     State   ZIP Code

  2
        BMW/ Landrover Fin Service                                             On which line in Part 1 did you enter the creditor?      2.1
        Name
        5515 Park Center                                                       Last 4 digits of account number
        Number       Street




        Dublin                                   OH      43017
        City                                     State   ZIP Code

  3
        Parc Soleil Vacation Owners Assoc                                      On which line in Part 1 did you enter the creditor?      2.3
        Name
        PO Box 402705                                                          Last 4 digits of account number
        Number       Street




        Atlanta                                  GA      30384
        City                                     State   ZIP Code




Official Form 106D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page 6
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  Fill in this information to identify your case:
  Debtor 1             Steven                Lee                    Wilson
                       First Name            Middle Name            Last Name

  Debtor 2            Sandra                 Juanita                Wilson
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                                $1,963.00           $1,963.00                $0.00
Internal Revenue Service
Priority Creditor's Name                                   Last 4 digits of account number
Centralized Insolvency Operations                          When was the debt incurred?
Number       Street
PO Box 7346                                                As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Philadelphia                    PA      19101-7346             Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
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Debtor 1       Steven Lee Wilson
Debtor 2       Sandra Juanita Wilson                                                            Case number (if known)

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          Unknown
Amax Leasing Source                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
3580 Wilshire Blvd, Ste. 160
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Los Angeles                     CA      90010
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Business Lease
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                          $8,316.00
American Express National Bank                              Last 4 digits of account number         0     6    2     6
Nonpriority Creditor's Name
                                                            When was the debt incurred?
c/o Gurstel Law Firm, PC
Number        Street                                        As of the date you file, the claim is: Check all that apply.
1275 E Fort Union Blvd, Ste. 116                                Contingent
                                                                Unliquidated
                                                                Disputed
Cottonwood Heights              UT      84047
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Pending Collection Lawsuit
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
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Debtor 1       Steven Lee Wilson
Debtor 2       Sandra Juanita Wilson                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.3                                                                                                                           $26,171.00
Amex                                                     Last 4 digits of account number       2    5    6    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 981540
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
El Paso                       TX      79998
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business purchases/expenses
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                               $613.00
Automated Health Managment Services                      Last 4 digits of account number       7    4    0    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1415 N. Loop West, Ste. 240
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77008
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Services
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                               $261.18
Automated Health Managment Services                      Last 4 digits of account number       2    1    6    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1415 N. Loop West, Ste. 240
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77008
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Services
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 3
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Debtor 1       Steven Lee Wilson
Debtor 2       Sandra Juanita Wilson                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.6                                                                                                                               $100.21
Automated Health Managment Services                      Last 4 digits of account number       4    4    8    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1415 N. Loop West, Ste. 240
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77008
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Services
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                           $15,116.00
Bank of America                                          Last 4 digits of account number       8    1    8    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
4909 Savarese Circlel
Number        Street                                     As of the date you file, the claim is: Check all that apply.
FL1-908-01-50                                                Contingent
                                                             Unliquidated
                                                             Disputed
Tampa                         FL      33634
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                             $1,040.00
Benetrends Financial                                     Last 4 digits of account number       9    0    2    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1180 Welsh Rd, Ste. 280
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
North Wales                   PA      19454
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business purchases/expenses
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 4
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Debtor 1       Steven Lee Wilson
Debtor 2       Sandra Juanita Wilson                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.9                                                                                                                           $13,075.00
Chase                                                    Last 4 digits of account number       9    9    8    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 15298
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850-5298
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                             $8,232.00
Chase                                                    Last 4 digits of account number       2    9    9    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 15298
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850-5298
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                             $3,833.00
Chase                                                    Last 4 digits of account number       5    4    0    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 15298
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850-5298
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Steven Lee Wilson
Debtor 2       Sandra Juanita Wilson                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.12                                                                                                                               $129.90
Chase Pest Control, Inc.                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
807 FM 2854, Ste. C
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Conroe                        TX      77301
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Personal Property
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                                $93.00
Comenity Bank/Pottery Barn                               Last 4 digits of account number       1    6    7    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Bankruptcy Deptartment
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 182125                                                Contingent
                                                             Unliquidated
                                                             Disputed
Columbus                      OH      43218-2125
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                             $2,245.00
Compass Point Emerg Phys, PLLC                           Last 4 digits of account number       2    1    6    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 99099
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Las Vegas                     NV      89193-9085
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Services
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Steven Lee Wilson
Debtor 2       Sandra Juanita Wilson                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.15                                                                                                                             $1,036.39
Consolidated Communications                              Last 4 digits of account number       1    2    0    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 1568
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Conroe                        TX      77305-1568
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business purchases/expenses
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                           $27,733.30
Cypress Fairbanks Medical                                Last 4 digits of account number       2    1    6    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 744324
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Atlanta                       GA      30374
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Services
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                           $19,464.00
Discover Financial                                       Last 4 digits of account number       6    5    8    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 3025
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
New Albany                    OH      43054
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 7
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Debtor 1       Steven Lee Wilson
Debtor 2       Sandra Juanita Wilson                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.18                                                                                                                             $2,260.00
EMCARE-IAH Emerg Physicians                              Last 4 digits of account number       4    0    7    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P. O. Box 13889
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Philadelphia                  PA      19101-3889
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Services
Is the claim subject to offset?
     No
     Yes

  4.19                                                                                                                               $782.00
Fayaz A Faiz 1960                                        Last 4 digits of account number       9    2    1    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
11760 FM 1960 R W
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77065
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Services
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                             $1,500.00
Financial Corp of America                                Last 4 digits of account number       7    4    0    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
12515 Research Blvd, Bldg 2
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Ste. 100                                                     Contingent
                                                             Unliquidated
                                                             Disputed
Austin                        TX      78759
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection Account
Is the claim subject to offset?
     No
     Yes
CYPRESS FAIRBANK MED CENTER


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 8
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Debtor 1       Steven Lee Wilson
Debtor 2       Sandra Juanita Wilson                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.21                                                                                                                             $1,668.62
Goldman Evans & Trammell LLC                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
10323 Cross Creek Blvd, Ste. F
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Tampa                         FL      33647
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business purchases/expenses
Is the claim subject to offset?
     No
     Yes
SIGNAD OUTDOOR

  4.22                                                                                                                               $236.20
HomeTeam Pest Defense, Inc.                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
10920 W. Sam Houston Pkwy,Ste. 500
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77064
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Miscellaneous
Is the claim subject to offset?
     No
     Yes

  4.23                                                                                                                           $53,050.98
ML Factors Funding LLC                                   Last 4 digits of account number       1    3    5    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
456A Central Ave., Ste. 128
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Cedarhurst                    NY      11516
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business purchases/expenses
Is the claim subject to offset?
     No
     Yes



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Debtor 1       Steven Lee Wilson
Debtor 2       Sandra Juanita Wilson                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.24                                                                                                                               $300.00
MW Heart Care Center of NW Houston PA                    Last 4 digits of account number       0    1    3    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 4346, Dept. 247
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77210-4346
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Services
Is the claim subject to offset?
     No
     Yes

  4.25                                                                                                                             $1,654.96
NPAS, Inc.                                               Last 4 digits of account number       2    5    3    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 99400
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Louisville                    KY      40269
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection Account
Is the claim subject to offset?
     No
     Yes

  4.26                                                                                                                             $3,155.41
Paypal Credit                                            Last 4 digits of account number       3    9    0    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 5138
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Lutherville Timonium          MD      21094
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Steven Lee Wilson
Debtor 2       Sandra Juanita Wilson                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.27                                                                                                                               $967.00
PDM                                                      Last 4 digits of account number       0    0    8    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO box 550979
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Jacksonville                  FL      32255
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection Account
Is the claim subject to offset?
     No
     Yes
FRONTIER UTILITIES LLC

  4.28                                                                                                                               $916.50
Poppy Drive Inpt Srvcs PLLC                              Last 4 digits of account number       4    0    7    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 98823
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Las Vegas                     NV      89193
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Services
Is the claim subject to offset?
     No
     Yes

  4.29                                                                                                                             $9,727.00
Schlumberger Employee                                    Last 4 digits of account number       7    8    7    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
225 Schlumberger Dr
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Sugar Land                    TX      77478
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Loan
Is the claim subject to offset?
     No
     Yes



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Debtor 1       Steven Lee Wilson
Debtor 2       Sandra Juanita Wilson                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.30                                                                                                                             $1,537.00
Schlumberger Employee                                    Last 4 digits of account number       7    8    7    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
225 Schlumberger Dr
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Sugar Land                    TX      77478
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.31                                                                                                                               $613.00
Specialized Collection Systems, Inc.                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P. O. Box 441508
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77244-1508
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection Account
Is the claim subject to offset?
     No
     Yes
HOUSTON NORTHWEST RADIOLOGY

  4.32                                                                                                                               $261.18
Specialized Collection Systems, Inc.                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P. O. Box 441508
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77244-1508
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection Account
Is the claim subject to offset?
     No
     Yes
HOUSTON NORTHWEST RADIOLOGY

Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 12
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Debtor 1       Steven Lee Wilson
Debtor 2       Sandra Juanita Wilson                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.33                                                                                                                               $100.21
Specialized Collection Systems, Inc.                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P. O. Box 441508
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77244-1508
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection Account
Is the claim subject to offset?
     No
     Yes
HOUSTON NORTHWEST RADIOLOGY

  4.34                                                                                                                           $91,271.23
Spirit of Texas Bank                                     Last 4 digits of account number       0    2    1    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1836 Spirit of Texas Way
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Conroe                        TX      77301
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt
Is the claim subject to offset?
     No
     Yes

  4.35                                                                                                                             $8,068.00
State Farm Financial Svs                                 Last 4 digits of account number       6    6    0    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1 State Farm Plaza
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Bloomington                   IL      61710
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes



Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 13
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Debtor 1       Steven Lee Wilson
Debtor 2       Sandra Juanita Wilson                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.36                                                                                                                               $913.82
Tejas Pathology                                          Last 4 digits of account number       8    9    8    P
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 1568
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Tomball                       TX      77377
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Services
Is the claim subject to offset?
     No
     Yes

  4.37                                                                                                                               $447.65
Tomball Regional Hospital                                Last 4 digits of account number       4    4    5    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 740785
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Cincinnati                    OH      45274-0785
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Services
Is the claim subject to offset?
     No
     Yes

  4.38                                                                                                                               $406.11
Tomball Regional Hospital                                Last 4 digits of account number       4    4    8    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 740785
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Cincinnati                    OH      45274-0785
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Services
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 14
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Debtor 1       Steven Lee Wilson
Debtor 2       Sandra Juanita Wilson                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.39                                                                                                                             $1,654.93
Tomball Regional Hospital                                Last 4 digits of account number       2    5    3    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 740785
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Cincinnati                    OH      45274-0785
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Services
Is the claim subject to offset?
     No
     Yes

  4.40                                                                                                                           $20,416.00
Wells Fargo                                              Last 4 digits of account number       9    9    6    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P. O. Box 6429
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Greenville                    SC      29606
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.41                                                                                                                           $10,150.28
Wide Merchant Investment, Inc.                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Regent & Associates
Number        Street                                     As of the date you file, the claim is: Check all that apply.
3601 Audubon Place                                           Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77006
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business purchases/expenses
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 15
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Debtor 1       Steven Lee Wilson
Debtor 2       Sandra Juanita Wilson                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.42                                                                                                                          $290,400.00
WSS-3 Shops at Conroe Plaza LLC                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
3846 West Davis Street Ste. 100
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Conroe                        TX      77304
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Lease
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 16
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Debtor 1       Steven Lee Wilson
Debtor 2       Sandra Juanita Wilson                                                       Case number (if known)

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


David Fogel P.C.                                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1225 Franklin Ave                                           Line   4.23 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
Ste. 522                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       1    3    5    9
Garden City                     NY      11530
City                            State   ZIP Code


Discover More Card                                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
P.O. Box 30943                                              Line   4.17 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Salt Lake City                  UT      84130
City                            State   ZIP Code


Home Tax Solutions, LLC                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
4849 Greenville Ave, Ste. 1620                              Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Dallas                          TX      75206
City                            State   ZIP Code


Houston NW Radiology                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 3686                                                 Line    4.4 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Houston                         TX      77253-3686
City                            State   ZIP Code


I.C. System, Inc.                                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 64437                                                Line   4.35 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Saint Paul                      MN      55164
City                            State   ZIP Code


NPAS, Inc.                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 99400                                                Line   4.16 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Louisville                      KY      40269
City                            State   ZIP Code



Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 17
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Debtor 1     Steven Lee Wilson
Debtor 2     Sandra Juanita Wilson                                                 Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Quicken Loans Inc                                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1050 Woodward Ave.                                  Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Detroit                    MI      48266
City                       State   ZIP Code


Quicken Loans Inc.                                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
c/o Aldridge Pite, LLP                              Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
4375 Jutland Drive, Suite 200                                                           Part 2: Creditors with Nonpriority Unsecured Claims

PO Box 17933
                                                    Last 4 digits of account number
San Diego                  CA      92177-0933
City                       State   ZIP Code


The Odom Law Firm                                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Al Odom                                             Line   4.34 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
601 Sawyer, Ste. 225                                                                    Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number       7    1    4    2
Houston                    TX      77007
City                       State   ZIP Code


Weitzman                                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Christi Reed                                        Line   4.42 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
1800 Bering, Ste. 550                                                                   Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Houston                    TX      77057
City                       State   ZIP Code


Wells Fargo Home Mortgage                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
8480 Stagecoach Cir                                 Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Frederick                  MD      21701
City                       State   ZIP Code


Wells Fargo Home Mortgage                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 10335                                        Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Des Moines                 IA      50306
City                       State   ZIP Code




Official Form 106E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                          page 18
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Debtor 1     Steven Lee Wilson
Debtor 2     Sandra Juanita Wilson                                                 Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Wells Fargo Home Mortgage                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Reaffirmation Group                                 Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                  Notice Only for Wells
1 Home Campus                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
                                                    Fargo Home Mortgage
X2303-016 FL1
                                                    Last 4 digits of account number
Des Moines                 IA      50328
City                       State   ZIP Code


WSS-3 Shops at Conroe Plaxa                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
c/o Weitzman                                        Line   4.42 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
PO Box 660394                                                                           Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Dallas                     TX      75266-0394
City                       State   ZIP Code




Official Form 106E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                          page 19
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Debtor 1       Steven Lee Wilson
Debtor 2       Sandra Juanita Wilson                                                   Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.              $1,963.00

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.              $1,963.00




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.                     $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.             $13,075.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.             $91,271.23
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +        $525,570.83


                  6j.   Total.   Add lines 6f through 6i.                                            6j.            $629,917.06




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                      page 20
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 Fill in this information to identify your case:
 Debtor 1             Steven                Lee                    Wilson
                      First Name            Middle Name            Last Name

 Debtor 2            Sandra                 Juanita                Wilson
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.     Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
       is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
       executory contracts and unexpired leases.

          Person or company with whom you have the contract or lease                   State what the contract or lease is for

 2.1      WSS-3 Shops at Conroe Plaza LLC                                              Business Lease
          Name                                                                         Contract to be REJECTED
          3846 West Davis Street Ste. 100
          Number    Street



          Conroe                                       TX        77304
          City                                         State     ZIP Code




Official Form 106G                            Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify your case:
 Debtor 1              Steven                 Lee                         Wilson
                       First Name             Middle Name                 Last Name

 Debtor 2            Sandra                   Juanita                     Wilson
 (Spouse, if filing) First Name               Middle Name                 Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                            Check if this is an
 (if known)
                                                                                                                            amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.    Do you have any codebtors?          (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
          Yes

2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
      include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes
                In which community state or territory did you live?                   Texas     Fill in the name and current address of that person.

                Sandra J Wilson
                Name of your spouse, former spouse, or legal equivalent
                12510 Willow Breeze Dr
                Number          Street


                Tomball                                         TX              77377
                City                                            State           ZIP Code

3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
      person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
      creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
      Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                 Check all schedules that apply:

3.1      Casandra Kendrick
         Name                                                                                          Schedule D, line        2.8
         20118 Mammouth Falls                                                                          Schedule E/F, line
         Number        Street
                                                                                                       Schedule G, line

         Tomball                                        TX                77375                  Wells Fargo Home Mortgage
         City                                           State             ZIP Code




Official Form 106H                                               Schedule H: Your Codebtors                                                            page 1
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 Fill in this information to identify your case:
     Debtor 1              Steven               Lee                    Wilson
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2              Sandra               Juanita                Wilson                                   An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF TEXAS
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Insurance Agent
      Include part-time, seasonal,                             Burgmeier Insurance Group for
      or self-employed work.            Employer's name        Liberty Na                                         Retired

      Occupation may include            Employer's address     14550 Torrey Chase Blvd #602
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Houston                      TX      77014
                                                               City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?        Since 2/2019

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                  $100.00                    $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.               $100.00                    $0.00




Official Form 106I                                            Schedule I: Your Income                                                                page 1
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Debtor 1        Steven Lee Wilson
Debtor 2        Sandra Juanita Wilson                                                                                              Case number (if known)
                                                                                                                      For Debtor 1             For Debtor 2 or
                                                                                                                                               non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                  $100.00            $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                        5a.                  $0.00                $0.00
     5b. Mandatory contributions for retirement plans                                                         5b.                  $0.00                $0.00
     5c. Voluntary contributions for retirement plans                                                         5c.                  $0.00                $0.00
     5d. Required repayments of retirement fund loans                                                         5d.                  $0.00                $0.00
     5e. Insurance                                                                                            5e.                  $0.00                $0.00
     5f. Domestic support obligations                                                                         5f.                  $0.00                $0.00
     5g. Union dues                                                                                           5g.                  $0.00                $0.00
     5h. Other deductions.
          Specify:                                                                                            5h. +                $0.00                $0.00
6.   Add the payroll deductions.                  Add lines 5a + 5b + 5c + 5d + 5e + 5f +                     6.                   $0.00                $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                          Subtract line 6 from line 4.             7.               $100.00                  $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                 8a.                  $0.00                $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.
     8b. Interest and dividends                                                                               8b.                  $0.00                $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                          8c.                  $0.00                $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                            8d.               $0.00                  $0.00
     8e. Social Security                                                                                      8e.           $2,132.00              $1,039.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                             8f.                $0.00                  $0.00
     8g. Pension or retirement income                                                                         8g.              $523.88                  $0.00
     8h. Other monthly income.
         Specify:                                                                                             8h. +                $0.00                $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                   9.            $2,655.88              $1,039.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $2,755.88 +         $1,039.00 =                                                     $3,794.88
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                               11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                               12.            $3,794.88
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                     Combined
                                                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           Debtor's salary is commission based; varies each check
            Yes. Explain:




Official Form 106I                                                                Schedule I: Your Income                                                                       page 2
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 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Steven                 Lee                    Wilson                              An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              Sandra                 Juanita                Wilson
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF TEXAS                                     MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.                    $950.00
      4b. Property, homeowner's, or renter's insurance                                                               4b.                    $230.00

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                     $83.00
      4d. Homeowner's association or condominium dues                                                                4d.                     $60.00




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
                  Case 19-32685 Document 1 Filed in TXSB on 05/08/19 Page 63 of 100

Debtor 1      Steven Lee Wilson
Debtor 2      Sandra Juanita Wilson                                                         Case number (if known)

                                                                                                                 Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                            5.

6.   Utilities:

     6a. Electricity, heat, natural gas                            (See continuation sheet(s) for details) 6a.                   $430.00
     6b. Water, sewer, garbage collection                                                                  6b.                   $125.00
     6c. Telephone, cell phone, Internet, satellite, and           (See continuation sheet(s) for details) 6c.                   $450.00
         cable services
     6d. Other. Specify:                                                                                   6d.

7.   Food and housekeeping supplies                                                                        7.                    $400.00
8.   Childcare and children's education costs                                                              8.

9.   Clothing, laundry, and dry cleaning                           (See continuation sheet(s) for details) 9.                    $150.00
10. Personal care products and services                                                                    10.

11. Medical and dental expenses                                                                            11.                   $300.00
12. Transportation. Include gas, maintenance, bus or train         (See continuation sheet(s) for details) 12.                   $400.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                          13.                   $100.00
    magazines, and books
14. Charitable contributions and religious donations                                                       14.                    $50.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                                 15a.                   $40.00
     15b.   Health insurance                                                                               15b.                   $35.00
     15c.   Vehicle insurance                                                                              15c.                   $80.00
     15d.   Other insurance. Specify:                                                                      15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                               16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1                                                                     17a.

     17b.   Car payments for Vehicle 2                                                                     17b.

     17c.   Other. Specify:                                                                                17c.

     17d.   Other. Specify:                                                                                17d.

18. Your payments of alimony, maintenance, and support that you did not report as                          18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                               19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.   Mortgages on other property                                                                    20a.

     20b.   Real estate taxes                                                                              20b.

     20c.   Property, homeowner's, or renter's insurance                                                   20c.

     20d.   Maintenance, repair, and upkeep expenses                                                       20d.

     20e.   Homeowner's association or condominium dues                                                    20e.



 Official Form 106J                                        Schedule J: Your Expenses                                                page 2
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Debtor 1      Steven Lee Wilson
Debtor 2      Sandra Juanita Wilson                                                            Case number (if known)

21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.       $3,883.00
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.       $3,883.00

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.       $3,794.88
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –   $3,883.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.        ($88.12)

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                Debtors are surrendered vehicles and will need to replace it in the near future




 Official Form 106J                                         Schedule J: Your Expenses                                       page 3
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Debtor 1     Steven Lee Wilson
Debtor 2     Sandra Juanita Wilson                                                    Case number (if known)


6a. Electricity, heat, natural gas (details):
     Electricity                                                                                               $400.00
     Natural Gas                                                                                                $30.00

                                                                                            Total:             $430.00


6c. Telephone, cell phone, Internet, satellite, and cable services (details):
     Cell Phone                                                                                                $330.00
     Cable & Internet                                                                                          $120.00

                                                                                            Total:             $450.00


9.   Clothing, laundry, and dry cleaning (details):
     Clothing                                                                                                   $75.00
     Dry Cleaning                                                                                               $75.00

                                                                                            Total:             $150.00


12. Transportation (details):
     Gasoline                                                                                                  $200.00
     Auto Maintenance/Repairs/Tuneups                                                                          $200.00

                                                                                            Total:             $400.00




 Official Form 106J                                       Schedule J: Your Expenses                               page 4
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 Fill in this information to identify your case:
 Debtor 1                Steven                        Lee                            Wilson
                         First Name                    Middle Name                    Last Name

 Debtor 2            Sandra                            Juanita                        Wilson
 (Spouse, if filing) First Name                        Middle Name                    Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                                                           Check if this is an
 (if known)
                                                                                                                                                           amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                       Your assets
                                                                                                                                                                       Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $376,500.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                         $78,053.80
     1b. Copy line 62, Total personal property, from Schedule A/B.................................................................................................................................................................


                                                                                                                                                                            $454,553.80
     1c. Copy line 63, Total of all property on Schedule A/B........................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                         Your liabilities
                                                                                                                                                                         Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $245,957.83
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                          $1,963.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +               $629,917.06
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                    Your total liabilities                         $877,837.89




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $3,794.88
     Copy your combined monthly income from line 12 of Schedule I.........................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                   $3,883.00




Official Form 106Sum                         Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
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Debtor 1      Steven Lee Wilson
Debtor 2      Sandra Juanita Wilson                                                        Case number (if known)


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

     9d. Student loans. (Copy line 6f.)

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +

     9g. Total.    Add lines 9a through 9f.




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
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 Fill in this information to identify your case:
 Debtor 1           Steven              Lee                  Wilson
                    First Name          Middle Name          Last Name

 Debtor 2            Sandra             Juanita              Wilson
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Steven Lee Wilson                                X /s/ Sandra Juanita Wilson
        Steven Lee Wilson, Debtor 1                           Sandra Juanita Wilson, Debtor 2

        Date 05/08/2019                                       Date 05/08/2019
             MM / DD / YYYY                                        MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
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 Fill in this information to identify your case:
 Debtor 1            Steven                 Lee                  Wilson
                     First Name             Middle Name          Last Name

 Debtor 2            Sandra                 Juanita              Wilson
 (Spouse, if filing) First Name             Middle Name          Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                          04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2:       Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

         No
         Yes. Fill in the details.

                                                    Debtor 1                                             Debtor 2

                                                  Sources of income          Gross income            Sources of income           Gross income
                                                  Check all that apply.      (before deductions      Check all that apply.       (before deductions
                                                                             and exclusions                                      and exclusions

From January 1 of the current year until              Wages, commissions,         $300.00 (est.)          Wages, commissions,
the date you filed for bankruptcy:                    bonuses, tips                                       bonuses, tips
                                                      Operating a business                                Operating a business


For the last calendar year:                           Wages, commissions,           $119,727.00           Wages, commissions,
                                                      bonuses, tips                                       bonuses, tips
(January 1 to December 31, 2018 )
                                  YYYY                Operating a business                                Operating a business


For the calendar year before that:                    Wages, commissions,           $184,699.00           Wages, commissions,             $8,875.00
                                                      bonuses, tips                                       bonuses, tips
(January 1 to December 31, 2017 )
                                  YYYY                Operating a business                                Operating a business




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 1
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Debtor 1       Steven Lee Wilson
Debtor 2       Sandra Juanita Wilson                                                    Case number (if known)

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.


                                                  Debtor 1                                         Debtor 2

                                                Sources of income           Gross income          Sources of income           Gross income
                                                Describe below.             from each source      Describe below.             from each source
                                                                            (before deductions                                (before deductions
                                                                            and exclusions                                    and exclusions

From January 1 of the current year until        Social Security                     $8,528.00 Social Security                         $4,000.00
the date you filed for bankruptcy:              Pension/Annuity                     $2,118.88



For the last calendar year:                     Social Security                    $25,584.00 Social Security                        $12,108.00
(January 1 to December 31, 2018 )               Pension/Annuity                     $6,286.00
                                YYYY            Fidelity                           $31,753.52


For the calendar year before that:              IRA                               $152,882.00
(January 1 to December 31, 2017 )               Pension/Annuity                     $6,287.00
                                YYYY            Social Security                     $6,228.00 Social Security                         $2,020.00




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 2
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Debtor 1         Steven Lee Wilson
Debtor 2         Sandra Juanita Wilson                                                        Case number (if known)


 Part 3:          List Certain Payments You Made Before You Filed for Bankruptcy
6.   Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.    Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                  "incurred by an individual primarily for a personal, family, or household purpose."

                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                      No. Go to line 7.

                      Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                           total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                           child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                  * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                      No. Go to line 7.

                      Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                           Also, do not include payments to an attorney for this bankruptcy case.

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
     such as child support and alimony.

           No
           Yes. List all payments to an insider.

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.




 Part 4:          Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

Case title                                 Nature of the case                          Court or agency                               Status of the case
ML Factors Funding LLC vs                  Collection                                  Supreme Court of The State of New
                                                                                                                                               Pending
S&S Wilson Inc, Massage                                                                York
Heights, Sandra J Wilson and                                                           Court Name                                              On appeal
Steven Wilson                                                                          County of Ontario
                                                                                       Number     Street                                       Concluded
Case number 117636-2018


                                                                                       City                      State    ZIP Code




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3
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Debtor 1        Steven Lee Wilson
Debtor 2        Sandra Juanita Wilson                                                         Case number (if known)

Case title                                   Nature of the case                        Court or agency                              Status of the case
American Express National                    Collection                                3rd Judicial District Court
                                                                                                                                              Pending
Bank vs. Steven Wilson                                                                 Court Name
                                                                                       Salt Lake County, UT                                   On appeal
                                                                                       Number     Street
Case number 189920626                                                                  450 South State St.                                    Concluded

                                                                                       Salt Lake City           UT       84114
                                                                                       City                     State    ZIP Code


Case title                                   Nature of the case                        Court or agency                              Status of the case
Spirit of Texas Bank SSB vs                  Collection                                152nd Judical District Court
                                                                                                                                              Pending
S&S Wilson Inc etal                                                                    Court Name
                                                                                       Harris County, Texas                                   On appeal
                                                                                       Number     Street
Case number 201927142                                                                                                                         Concluded


                                                                                       City                     State    ZIP Code


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

                                                             Describe the property                            Date             Value of the property
Wide Merchant Investment, Inc.                               American Express Merchant Account                      4/2018                $0.00
Creditor's Name

c/o Regent & Associates
Number       Street                                          Explain what happened
3601 Audubon Place                                              Property was repossessed.
                                                                Property was foreclosed.
Houston                             TX         77006            Property was garnished.
City                                State      ZIP Code         Property was attached, seized, or levied.

                                                             Describe the property                            Date             Value of the property
ML Factors Funding LLC                                       Garnished Chase Account #6776                         4/16/2018           $53,050.98
Creditor's Name

456A Central Ave., Ste. 128
Number       Street                                          Explain what happened
                                                                Property was repossessed.
                                                                Property was foreclosed.
Cedarhurst                          NY         11516            Property was garnished.
City                                State      ZIP Code         Property was attached, seized, or levied.

                                                             Describe the property                            Date             Value of the property
BMW Financial Services                                       2016 BMW 528i                                         12/2018             $30,000.00
Creditor's Name                                              VOLUNTARY SURRENDER
Attn: Bankruptcy Dept
Number       Street                                          Explain what happened
PO Box 3608                                                     Property was repossessed.
                                                                Property was foreclosed.
Dublin                              OH         43016            Property was garnished.
City                                State      ZIP Code         Property was attached, seized, or levied.




Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 4
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Debtor 1         Steven Lee Wilson
Debtor 2         Sandra Juanita Wilson                                                         Case number (if known)

                                                                Describe the property                            Date          Value of the property
BMW Financial Services                                          2014 BMW X3; voluntary surrender                      3/2019        $20,000.00
Creditor's Name

Attn: Bankruptcy Dept
Number     Street                                               Explain what happened
PO Box 3608                                                        Property was repossessed.
                                                                   Property was foreclosed.
Dublin                                 OH         43016            Property was garnished.
City                                   State      ZIP Code         Property was attached, seized, or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

  Part 5:         List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

  Part 6:         List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                           page 5
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Debtor 1       Steven Lee Wilson
Debtor 2       Sandra Juanita Wilson                                                       Case number (if known)

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                     Description and value of any property transferred          Date payment        Amount of
J. Thomas Black, P.C.                                $2500 attorney fees                                        or transfer was     payment
Person Who Was Paid                                  $335 filing fee                                            made

2600 S. Gessner, Suite 110                           $75 costs                                                     07/20/2018           $2,910.00
Number      Street




Houston                       TX       77063
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

                                                     Description and value of any property transferred          Date payment        Amount of
DECAF                                                credit counseling and debtor education course              or transfer was     payment
Person Who Was Paid                                                                                             made

112 Goliad St                                                                                                      8/13/2018             $30.00
Number      Street




Fort Worth                    TX       76126
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

                                                     Description and value of any property transferred          Date payment        Amount of
Credit Infonet                                       credit report                                              or transfer was     payment
Person Who Was Paid                                                                                             made

PO Box 3502                                                                                                        8/13/2018             $80.00
Number      Street




Davenport                     IA       52808
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 6
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Debtor 1       Steven Lee Wilson
Debtor 2       Sandra Juanita Wilson                                                        Case number (if known)

                                                     Description and value of any property transferred          Date payment         Amount of
United Settlements                                   Debt settlement for busines                                or transfer was      payment
Person Who Was Paid                                  *Refunded $5000(est)                                       made

                                                                                                                       2018             $5,200.00
Number      Street




City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

                                                     Description and value of any            Describe any property or payments          Date transfer
Fidelity; Profit/Shariing                            property transferred                    received or debts paid in exchange         was made
Person Who Received Transfer                         Disbursements from Fidelity             Funds used to maintain business                    2018
                                                     Account
Number      Street                                   $20,000




City                          State    ZIP Code

Person's relationship to you None

                                                     Description and value of any            Describe any property or payments          Date transfer
Various Businesses                                   property transferred                    received or debts paid in exchange         was made
Person Who Received Transfer                         Sold Business Equipment                 $30,900.00                                     4/2018
                                                     $10,900.00                              *used funds on payroll and
Number      Street                                   Sold client list $20,000 (est)          personal living expenses and
                                                                                             bills; debtor was unemployed for
                                                                                             6 months

City                          State    ZIP Code

Person's relationship to you None




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
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Debtor 1      Steven Lee Wilson
Debtor 2      Sandra Juanita Wilson                                                    Case number (if known)

                                                  Description and value of any           Describe any property or payments    Date transfer
American Funds                                    property transferred                   received or debts paid in exchange   was made
Person Who Received Transfer                      IRA distributions                      $91,324.93                               2017
PO Box 1148                                                                              *Funds used to maintain
Number     Street                                                                        business



Norfolk                    VA       23501
City                       State    ZIP Code

Person's relationship to you None

                                                  Description and value of any           Describe any property or payments    Date transfer
American Funds                                    property transferred                   received or debts paid in exchange   was made
Person Who Received Transfer                      IRA distributions                      $8,850.00                                2018
PO Box 1148                                                                              *Funds used to maintain
Number     Street                                                                        business



Norfolk                    VA       23501
City                       State    ZIP Code

Person's relationship to you None

                                                  Description and value of any           Describe any property or payments    Date transfer
Investco                                          property transferred                   received or debts paid in exchange   was made
Person Who Received Transfer                      Husband's IRA Distributions            $61,556.40                               2017
PO Box 219319                                                                            *used funds to maintain
Number     Street                                                                        business



Kansas City                MO       64121
City                       State    ZIP Code

Person's relationship to you None

                                                  Description and value of any           Describe any property or payments    Date transfer
Investco                                          property transferred                   received or debts paid in exchange   was made
Person Who Received Transfer                      Husband's IRA Distributions            $3,049.47                                2018
PO Box 219319                                                                            *used funds to maintain
Number     Street                                                                        business



Kansas City                MO       64121
City                       State    ZIP Code

Person's relationship to you None

                                                  Description and value of any           Describe any property or payments    Date transfer
Investco                                          property transferred                   received or debts paid in exchange   was made
Person Who Received Transfer                      Wife's IRA Distributions               $19,854.05                               2018
PO Box 219319                                                                            *used funds to maintain
Number     Street                                                                        business



Kansas City                MO       64121
City                       State    ZIP Code

Person's relationship to you None




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                          page 8
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Debtor 1        Steven Lee Wilson
Debtor 2        Sandra Juanita Wilson                                                      Case number (if known)

                                                      Description and value of any           Describe any property or payments         Date transfer
Longbridge                                            property transferred                   received or debts paid in exchange        was made
Person Who Received Transfer                          Reverse Mortgage on                    Lender paid Quicken loan, HOA                 3/2019
PO Box 40724                                          homestead;                             & property taxes
Number      Street                                    12510 Willow Breeze Dr
                                                      Tomball, TX 77377


Bleiblerville                   TX      78931
City                            State   ZIP Code

Person's relationship to you None

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.

  Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

                                                      Last 4 digits of account     Type of account or          Date account         Last balance
                                                      number                       instrument                  was closed,          before closing
                                                                                                               sold, moved,         or transfer
                                                                                                               or transferred
Spirit of Texas Bank
Name of Financial Institution
                                                      XXXX-                            Checking                       2018
PO Box FB                                                                              Savings
Number      Street
                                                                                       Money market
                                                                                       Brokerage
                                                                                       Other
College Station                 TX      77841
City                            State   ZIP Code

                                                      Last 4 digits of account     Type of account or          Date account         Last balance
                                                      number                       instrument                  was closed,          before closing
                                                                                                               sold, moved,         or transfer
                                                                                                               or transferred
Wells Fargo
Name of Financial Institution
                                                      XXXX- 0       9    7   4         Checking                     11/2018               $0.00
P. O. Box 10347                                                                        Savings
Number      Street
                                                                                       Money market
                                                                                       Brokerage
                                                                                       Other
Des Moines                      IA      50306-0347
City                            State   ZIP Code




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 9
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Debtor 1        Steven Lee Wilson
Debtor 2        Sandra Juanita Wilson                                                                Case number (if known)

                                                            Last 4 digits of account       Type of account or          Date account     Last balance
                                                            number                         instrument                  was closed,      before closing
                                                                                                                       sold, moved,     or transfer
                                                                                                                       or transferred
Schlumberger Employee
Name of Financial Institution
                                                            XXXX- 9      0    0      0            Checking                     2019          $0.00
225 Schlumberger Dr                                                                               Savings
Number      Street
                                                                                                  Money market
                                                                                                  Brokerage
                                                                                                  Other
Sugar Land                       TX       77478
City                             State    ZIP Code

                                                            Last 4 digits of account       Type of account or          Date account     Last balance
                                                            number                         instrument                  was closed,      before closing
                                                                                                                       sold, moved,     or transfer
                                                                                                                       or transferred
Bank of America
Name of Financial Institution
                                                            XXXX- 1      0    4      8            Checking                    12/2018        $0.00
PO Box 15026                                                                                      Savings
Number      Street
                                                                                                  Money market
                                                                                                  Brokerage
                                                                                                  Other
Wilmington                       DE       19850-5026
City                             State    ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

                                                     Who else had access to it?                       Describe the contents                Do you still
                                                                                                                                           have it?

Wells Fargo Bank                                     Sany Wilson (Wife)                               Stock Certificates                       No
Name of Financial Institution                        Name                                                                                      Yes
14094 FM 2920
Number      Street                                   Number     Street




Tomball                     TX
City                        State     ZIP Code       City                    State     ZIP Code

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.




Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 10
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Debtor 1        Steven Lee Wilson
Debtor 2        Sandra Juanita Wilson                                                           Case number (if known)

  Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

            No
            Yes. Fill in the details.


  Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.
       Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
       utilize it or used to own, operate, or utilize it, including disposal sites.

       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


            No
            Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

            No
            Yes. Fill in the details.

  Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                 A member of a limited liability company (LLC) or limited liability partnership (LLP)
                 A partner in a partnership
                 An officer, director, or managing executive of a corporation
                 An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.

                                                  Describe the nature of the business                 Employer Identification number
S&S Wilson Inc, dba Massage HeightsMassage Therapy                                                    Do not include Social Security number or ITIN.
Business Name
                                                                                                      EIN: 4     7 – 3         3    5    1   1      5     5
3846 W. Davis St #100                             Name of accountant or bookkeeper
Number       Street
                                                  Ceterus                                             Dates business existed

                                                                                                      From     3/6/2015            To   3/30/2018
Conroe                     TX      77304
City                       State   ZIP Code




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 11
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Debtor 1       Steven Lee Wilson
Debtor 2       Sandra Juanita Wilson                                                       Case number (if known)

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.

                                                            Date issued
Spirit of Texas                                               01/01/2017
Name

PO Box FB
Number     Street




College Station                    TX        77841
City                               State     ZIP Code




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                 page 12
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Debtor 1     Steven Lee Wilson
Debtor 2     Sandra Juanita Wilson                                                  Case number (if known)

 Part 12:     Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Steven Lee Wilson                               X /s/ Sandra Juanita Wilson
   Steven Lee Wilson, Debtor 1                           Sandra Juanita Wilson, Debtor 2

   Date     05/08/2019                                   Date     05/08/2019

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                    Attach the Bankruptcy Petition Preparer's Notice,
                                                                                           Declaration, and Signature (Official Form 119).




Official Form 107                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 13
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 Fill in this information to identify your case:
 Debtor 1              Steven             Lee                     Wilson
                       First Name         Middle Name             Last Name

 Debtor 2            Sandra               Juanita                 Wilson
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                               Check if this is an
 (if known)
                                                                                                                               amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:           List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral         What do you intend to do with the            Did you claim the property
                                                                        property that secures a debt?                as exempt on Schedule C?

      Creditor's        BMW Financial Services                                Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    2016 BMW 528i (approx. 35000 miles)                   Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
                        SURRENERED 11/2018
      securing debt:                                                          Retain the property and [explain]:


      Creditor's        BMW Financial Services                                Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    2014 BMW X3 (approx. 43100 miles)                     Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
                        SURRENDER 3/2019
      securing debt:                                                          Retain the property and [explain]:


      Creditor's        Grand Vacations Servies, LLC                          Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    Timeshare -Orlando, FL                                Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:
                                                                              Debtor will continue making payments to creditor without
                                                                              reaffirming.




Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                     page 1
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Debtor 1     Steven Lee Wilson
Debtor 2     Sandra Juanita Wilson                                                    Case number (if known)

    Identify the creditor and the property that is collateral       What do you intend to do with the            Did you claim the property
                                                                    property that secures a debt?                as exempt on Schedule C?
    Creditor's        Grand Vacations Servies, LLC                       Surrender the property.                      No
    name:                                                                Retain the property and redeem it.           Yes
    Description of    Timeshare-Breckenridge, CO                         Retain the property and enter into a
    property                                                             Reaffirmation Agreement.
    securing debt:                                                       Retain the property and [explain]:
                                                                         Debtor will continue making payments to creditor without
                                                                         reaffirming.


    Creditor's        Longbridge                                         Surrender the property.                      No
    name:                                                                Retain the property and redeem it.           Yes
    Description of    12510 Willow Breeze Dr, Tomball, TX                Retain the property and enter into a
    property                                                             Reaffirmation Agreement.
                      77377
    securing debt:                                                       Retain the property and [explain]:
                                                                         No ongoing payments due: Reverse Mortgage


    Creditor's        Star Furniture                                     Surrender the property.                      No
    name:                                                                Retain the property and redeem it.           Yes
    Description of    Two Recliners                                      Retain the property and enter into a
    property                                                             Reaffirmation Agreement.
    securing debt:                                                       Retain the property and [explain]:
                                                                         Debtor will continue making payments to creditor without
                                                                         reaffirming.


    Creditor's        Wells Fargo Home Mortgage                          Surrender the property.                      No
    name:                                                                Retain the property and redeem it.           Yes
    Description of    20118 Mammouth Falls, Tomball, TX                  Retain the property and enter into a
    property                                                             Reaffirmation Agreement.
    securing debt:                                                       Retain the property and [explain]:
                                                                         Debtor will continue making payments to creditor without
                                                                         reaffirming.
                                                                         Co-Signed for daughter; property belongs to daughter, she
                                                                         lives at the property and pays the mortgage


 Part 2:         List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

    Describe your unexpired personal property leases                                                            Will this lease be assumed?

    Lessor's name:        WSS-3 Shops at Conroe Plaza LLC                                                           No
    Description of leased Business Lease                                                                            Yes
    property:



 Part 3:         Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.

X /s/ Steven Lee Wilson                                X /s/ Sandra Juanita Wilson
   Steven Lee Wilson, Debtor 1                             Sandra Juanita Wilson, Debtor 2

   Date 05/08/2019                                         Date 05/08/2019
        MM / DD / YYYY                                          MM / DD / YYYY




Official Form 108                       Statement of Intention for Individuals Filing Under Chapter 7                                  page 2
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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                             SOUTHERN DISTRICT OF TEXAS
                                                                  HOUSTON DIVISION
In re Steven Lee Wilson                                                                                                             Case No.
      Sandra Juanita Wilson
                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                Fixed Fee:                       $3,020.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $3,020.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   AMOUNT SHOWN INCLUDES $2500 ATTORNEY FEE, PLUS $335 FILING FEE, $75 COSTS, $80 CREDIT REPORT AND
   $30 CREDITOR BRIEFING AND DEBTOR EDUCATION COURSE.

  FEE DOES NOT INCLUDE REPRESENTATION IN ADVERSARY PROCEEDINGS OR CONTESTED MATTERS.




                                                          CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
  representation of the debtor(s) in this bankruptcy proceeding.


                  05/08/2019                         /s/ J. Thomas Black
                     Date                            J. Thomas Black                            Bar No. 02373400
                                                     J. Thomas Black, P.C.
                                                     2600 S. Gessner, Suite 110
                                                     Houston, TX 77063
                                                     Phone: (713) 772-8037 / Fax: (713) 772-5058
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                 Amax Leasing Source
                 3580 Wilshire Blvd, Ste. 160
                 Los Angeles, CA 90010



                 American Express National Bank
                 c/o Gurstel Law Firm, PC
                 1275 E Fort Union Blvd, Ste. 116
                 Cottonwood Heights, UT 84047


                 Amex
                 PO Box 981540
                 El Paso, TX 79998



                 Automated Health Managment Services
                 1415 N. Loop West, Ste. 240
                 Houston, TX 77008



                 Bank of America
                 4909 Savarese Circlel
                 FL1-908-01-50
                 Tampa, FL 33634


                 Benetrends Financial
                 1180 Welsh Rd, Ste. 280
                 North Wales, PA 19454



                 BMW Financial Services
                 Attn: Bankruptcy Dept
                 PO Box 3608
                 Dublin, OH 43016


                 BMW Financial Services NA LLC
                 PO Box 201347
                 Arlington, TX 76006



                 BMW/ Landrover Fin Service
                 5515 Park Center
                 Dublin, OH 43017
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                 Casandra Kendrick
                 20118 Mammouth Falls
                 Tomball, TX 77375



                 Chase
                 PO Box 15298
                 Wilmington, DE 19850-5298



                 Chase Pest Control, Inc.
                 807 FM 2854, Ste. C
                 Conroe, TX 77301



                 Comenity Bank/Pottery Barn
                 Bankruptcy Deptartment
                 PO Box 182125
                 Columbus OH 43218-2125


                 Compass Point Emerg Phys, PLLC
                 PO Box 99099
                 Las Vegas, NV 89193-9085



                 Consolidated Communications
                 PO Box 1568
                 Conroe, TX 77305-1568



                 Cypress Fairbanks Medical
                 PO Box 744324
                 Atlanta, GA 30374



                 David Fogel P.C.
                 1225 Franklin Ave
                 Ste. 522
                 Garden City, NY 11530


                 Discover Financial
                 P.O. Box 3025
                 New Albany, OH 43054
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                 Discover More Card
                 P.O. Box 30943
                 Salt Lake City, UT 84130



                 EMCARE-IAH Emerg Physicians
                 P. O. Box 13889
                 Philadelphia, PA 19101-3889



                 Fayaz A Faiz 1960
                 11760 FM 1960 R W
                 Houston, TX 77065



                 Financial Corp of America
                 12515 Research Blvd, Bldg 2
                 Ste. 100
                 Austin, TX 78759


                 Goldman Evans & Trammell LLC
                 10323 Cross Creek Blvd, Ste. F
                 Tampa, FL 33647



                 Grand Vacations Servies, LLC
                 6355 Metrowest Blvd, Ste. 180
                 Orlando, FL 32835



                 Home Tax Solutions, LLC
                 4849 Greenville Ave, Ste. 1620
                 Dallas, TX 75206



                 HomeTeam Pest Defense, Inc.
                 10920 W. Sam Houston Pkwy,Ste. 500
                 Houston, TX 77064



                 Houston NW Radiology
                 PO Box 3686
                 Houston, TX 77253-3686
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                 I.C. System, Inc.
                 PO Box 64437
                 Saint Paul, MN 55164



                 Internal Revenue Service
                 Centralized Insolvency Operations
                 PO Box 7346
                 Philadelphia, PA 19101-7346


                 Linebarger Goggan Blair & Sampson, LLP
                 103 W. Phillips Street
                 Conroe, TX 77301



                 Longbridge
                 PO Box 40724
                 Lansing, MI 48901-7924



                 ML Factors Funding LLC
                 456A Central Ave., Ste. 128
                 Cedarhurst, NY 11516



                 MW Heart Care Center of NW Houston PA
                 PO Box 4346, Dept. 247
                 Houston, TX 77210-4346



                 NPAS, Inc.
                 PO Box 99400
                 Louisville, KY 40269



                 Parc Soleil Vacation Owners Assoc
                 PO Box 402705
                 Atlanta, GA 30384



                 Paypal Credit
                 PO Box 5138
                 Lutherville Timonium, MD 21094
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                 PDM
                 PO box 550979
                 Jacksonville, FL 32255



                 Poppy Drive Inpt Srvcs PLLC
                 PO Box 98823
                 Las Vegas, NV 89193



                 Quicken Loans Inc
                 1050 Woodward Ave.
                 Detroit MI 48266



                 Quicken Loans Inc.
                 c/o Aldridge Pite, LLP
                 4375 Jutland Drive, Suite 200
                 PO Box 17933
                 San Diego, CA 92177-0933

                 Schlumberger Employee
                 225 Schlumberger Dr
                 Sugar Land, TX 77478



                 Specialized Collection Systems, Inc.
                 P. O. Box 441508
                 Houston, TX 77244-1508



                 Spirit of Texas Bank
                 1836 Spirit of Texas Way
                 Conroe, TX 77301



                 Star Furniture
                 P. O. Box 219169
                 Houston, TX 77218



                 State Farm Financial Svs
                 1 State Farm Plaza
                 Bloomington, IL 61710
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                 Tejas Pathology
                 PO Box 1568
                 Tomball, TX 77377



                 The Odom Law Firm
                 Al Odom
                 601 Sawyer, Ste. 225
                 Houston, TX 77007


                 Tomball Regional Hospital
                 P.O. Box 740785
                 Cincinnati, OH 45274-0785



                 Weitzman
                 Christi Reed
                 1800 Bering, Ste. 550
                 Houston, TX 77057


                 Wells Fargo
                 P. O. Box 6429
                 Greenville, SC 29606



                 Wells Fargo Home Mortgage
                 3476 Stateview Blvd
                 Fort Mill, SC 29715-7200



                 Wells Fargo Home Mortgage
                 Reaffirmation Group
                 1 Home Campus
                 X2303-016 FL1
                 Des Moines, IA 50328

                 Wells Fargo Home Mortgage
                 PO Box 10335
                 Des Moines IA 50306



                 Wells Fargo Home Mortgage
                 8480 Stagecoach Cir
                 Frederick, MD 21701
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                 Wide Merchant Investment, Inc.
                 c/o Regent & Associates
                 3601 Audubon Place
                 Houston, TX 77006


                 WSS-3 Shops at Conroe Plaxa
                 c/o Weitzman
                 PO Box 660394
                 Dallas, TX 75266-0394


                 WSS-3 Shops at Conroe Plaza LLC
                 3846 West Davis Street Ste. 100
                 Conroe, TX 77304
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                                                 UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                         HOUSTON DIVISION
  IN RE: Steven Lee Wilson                                                                 CASE NO
         Sandra Juanita Wilson
                                                                                           CHAPTER       7

                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                  Scheme Selected: State
                                                                Gross             Total          Total         Total Amount   Total Amount
No.     Category                                        Property Value    Encumbrances          Equity               Exempt    Non-Exempt


1.      Real property                                    $376,500.00          $65,234.48   $312,616.96         $312,616.96            $0.00

3.      Motor vehicles (cars, etc.)                          $250.00               $0.00      $250.00              $250.00            $0.00

4.      Water/Aircraft, Motor Homes,                           $0.00               $0.00         $0.00               $0.00            $0.00
        Rec. veh. and access.

6.      Household goods and furnishings                    $5,165.00               $0.00     $5,165.00           $5,165.00            $0.00

7.      Electronics                                        $1,940.00               $0.00     $1,940.00           $1,940.00            $0.00

8.      Collectibles of value                              $6,600.00               $0.00     $6,600.00           $6,600.00            $0.00

9.      Equipment for sports and hobbies                   $1,850.00               $0.00     $1,850.00           $1,850.00            $0.00

10.     Firearms                                               $0.00               $0.00         $0.00               $0.00            $0.00

11.     Clothes                                            $1,500.00               $0.00     $1,500.00           $1,500.00            $0.00

12.     Jewelry                                            $3,500.00               $0.00     $3,500.00           $3,500.00            $0.00

13.     Non-farm animals                                       $0.00               $0.00         $0.00               $0.00            $0.00

14.     Unlisted pers. and household items-                    $0.00               $0.00         $0.00               $0.00            $0.00
        incl. health aids

16.     Cash                                                  $14.00               $0.00       $14.00                $0.00         $14.00

17.     Deposits of money                                  $2,123.02               $0.00     $2,123.02           $2,010.01        $113.01

18.     Bonds, mutual funds or publicly                    $3,300.00               $0.00     $3,300.00               $0.00      $3,300.00
        traded stocks

19.     Non-pub. traded stock and int.                         $0.00           $1,361.25         $0.00               $0.00            $0.00
        in businesses

20.     Govt. and corp. bonds and other                        $0.00               $0.00         $0.00               $0.00            $0.00
        instruments

21.     Retirement or pension accounts                     $1,811.78               $0.00     $1,811.78           $1,811.78            $0.00

22.     Security deposits and prepayments                      $0.00               $0.00         $0.00               $0.00            $0.00

23.     Annuities                                              $0.00               $0.00         $0.00               $0.00            $0.00

24.     Interests in an education IRA                          $0.00               $0.00         $0.00               $0.00            $0.00

25.     Trusts, equit. or future int. (not in line 1)          $0.00               $0.00         $0.00               $0.00            $0.00

26.     Patents, copyrights, and other                         $0.00               $0.00         $0.00               $0.00            $0.00
        intellectual prop.
27.     Licenses, franchises, other                            $0.00               $0.00         $0.00               $0.00            $0.00
        general intangibles

28.     Tax refunds owed to you                                $0.00               $0.00         $0.00               $0.00            $0.00
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                                             UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF TEXAS
                                                     HOUSTON DIVISION
  IN RE: Steven Lee Wilson                                                                 CASE NO
         Sandra Juanita Wilson
                                                                                           CHAPTER       7

                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                              Continuation Sheet # 1
Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                  Scheme Selected: State
                                                           Gross                  Total          Total         Total Amount   Total Amount
No.     Category                                   Property Value         Encumbrances          Equity               Exempt    Non-Exempt


29.     Family support                                     $0.00                   $0.00         $0.00               $0.00            $0.00

30.     Other amounts someone owes you                     $0.00                   $0.00         $0.00               $0.00            $0.00

31.     Interests in insurance policies                    $0.00                   $0.00         $0.00               $0.00            $0.00

32.     Any int. in prop. due you from                     $0.00                   $0.00         $0.00               $0.00            $0.00
        someone who has died

33.     Claims vs. third parties, even                     $0.00                   $0.00         $0.00               $0.00            $0.00
        if no demand

34.     Other contin. and unliq. claims                    $0.00                   $0.00         $0.00               $0.00            $0.00
        of every nature

35.     Any financial assets you did                       $0.00                   $0.00         $0.00               $0.00            $0.00
        not already list

38.     Accounts rec. or commissions you                   $0.00                   $0.00         $0.00               $0.00            $0.00
        already earned

39.     Office equipment, furnishings,                     $0.00                   $0.00         $0.00               $0.00            $0.00
        and supplies

40.     Mach., fixt., equip., bus. suppl.,                 $0.00                   $0.00         $0.00               $0.00            $0.00
        tools of trade

41.     Inventory                                          $0.00                   $0.00         $0.00               $0.00            $0.00

42.     Interests in partnerships or                       $0.00                   $0.00         $0.00               $0.00            $0.00
        joint ventures

43.     Customer and mailing lists, or                     $0.00                   $0.00         $0.00               $0.00            $0.00
        other compilations

44.     Any business-related property not                  $0.00                   $0.00         $0.00               $0.00            $0.00
        already listed

47.     Farm animals                                       $0.00                   $0.00         $0.00               $0.00            $0.00

48.     Crops--either growing or harvested                 $0.00                   $0.00         $0.00               $0.00            $0.00

49.     Farm/fishing equip., impl., mach.,                 $0.00                   $0.00         $0.00               $0.00            $0.00
        fixt., tools

50.     Farm and fishing supplies, chemicals,              $0.00                   $0.00         $0.00               $0.00            $0.00
        and feed

51.     Farm/commercial fishing-related prop.              $0.00                   $0.00         $0.00               $0.00            $0.00
        not listed

53.     Any other property of any kind not                 $0.00                   $0.00         $0.00               $0.00            $0.00
        already listed

                    TOTALS:                          $404,553.80              $66,595.73   $340,670.76         $337,243.75      $3,427.01
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                                             UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF TEXAS
                                                     HOUSTON DIVISION
  IN RE: Steven Lee Wilson                                                                    CASE NO
         Sandra Juanita Wilson
                                                                                             CHAPTER         7

                           SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                               Continuation Sheet # 2




Surrendered Property:
The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for purposes
of this analysis. The below listed items are to be returned to the lienholder.

  Property Description                                                                   Market Value                        Lien             Equity

Real Property
(None)
Personal Property

2014 BMW X3 (approx. 43100 miles)                                                           $20,000.00                $27,204.00                  $0.00

2016 BMW 528i (approx. 35000 miles)                                                         $30,000.00                $47,635.00                  $0.00


                   TOTALS:                                                                  $50,000.00                $74,839.00                  $0.00


Non-Exempt Property by Item:
The following property, or a portion thereof, is non-exempt.

  Property Description                                                 Market Value              Lien               Equity      Non-Exempt Amount

Real Property
(None)
Personal Property

Cash on Hand                                                                   $14.00                              $14.00                    $14.00

Resource One Credit Union                                                      $88.01                              $88.01                    $88.01

Resource One Credit Union                                                      $25.00                              $25.00                    $25.00

Spencer Edwards, Inc. Brokerage Account - broker-dealer's                   $3,300.00                            $3,300.00                $3,300.00


                   TOTALS:                                                  $3,427.01           $0.00            $3,427.01                $3,427.01
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                                       UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF TEXAS
                                               HOUSTON DIVISION
IN RE: Steven Lee Wilson                                                          CASE NO
       Sandra Juanita Wilson
                                                                                  CHAPTER   7

                      SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                         Continuation Sheet # 3




                                                          Summary
       A. Gross Property Value (not including surrendered property)                             $404,553.80

       B. Gross Property Value of Surrendered Property                                           $50,000.00

       C. Total Gross Property Value (A+B)                                                      $454,553.80

       D. Gross Amount of Encumbrances (not including surrendered property)                      $66,595.73

       E. Gross Amount of Encumbrances on Surrendered Property                                   $74,839.00

       F. Total Gross Encumbrances (D+E)                                                        $141,434.73

       G. Total Equity (not including surrendered property) / (A-D)                             $340,670.76

       H. Total Equity in surrendered items (B-E)                                                     $0.00

       I. Total Equity (C-F)                                                                    $340,670.76

       J. Total Exemptions Claimed                                                              $337,243.75

       K. Total Non-Exempt Property Remaining (G-J)                                              $3,427.01
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 Fill in this information to identify your case:
 Debtor 1             Steven                   Lee                Wilson
                      First Name               Middle Name        Last Name

 Debtor 2            Sandra                    Juanita            Wilson
 (Spouse, if filing) First Name                Middle Name        Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
 (if known)
                                                                                                        Check if this is an amended filing


Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                           12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe
that you are exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are
filing together, and any of the exclusions in this statement applies to only one of you, the other person should complete a
separate Form 122A-1 if you believe that this is required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:        Identify the Kind of Debts You Have
1.   Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary
     Petition for Individuals Filing for Bankruptcy (Official Form 101).

          No.    Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                 submit this supplement with the signed Form 122A-1.

          Yes. Go to Part 2.

 Part 2:        Determine Whether Military Service Provisions Apply to You
2.   Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
          No.    Go to line 3.
          Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
               10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                       No.     Go to line 3.
                       Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                            Then submit this supplement with the signed Form 122A-1.
3.   Are you or have you been a Reservist or member of the National Guard?
          No.    Complete Form 122A-1. Do not submit this supplement.
          Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
                No.    Complete Form 122A-1. Do not submit this supplement.
                Yes. Check any one of the following categories that applies:

                      I was called to active duty after September 11, 2001,           If you checked one of the categories to the left, go to
                      for at least 90 days and remain on active duty.                 Form 122A-1. On the top of page 1 of Form 122A-1, check
                      I was called to active duty after September 11, 2001,           box 3, The Means Test does not apply now and sign
                      for at least 90 days and was released from active duty on       Part 3. Then submit this supplement with the signed Form
                                            which is fewer than 540 days before I     122A-1. You are not required to fill out the rest of Official
                      file this bankruptcy case.                                      Form 122A-1 during the exclusion period. The exclusion
                                                                                      period means the time you are on active duty or are
                      I am performing a homeland defense activity for at              performing a homeland defense activity, and for 540 days
                      least 90 days.                                                  afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                      I performed a homeland defense activity for at
                      least 90 days, ending on                        , which is      If your exclusion period ends before your case is closed,
                      fewer than 540 days before I file this bankruptcy case.         you may have to file an amended form later.




Official Form 122A-1Supp               Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                    page 1
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 Fill in this information to identify your case:                                             Check one box only as directed in this
                                                                                             form and in Form 122A-1Supp:
 Debtor 1           Steven               Lee                   Wilson
                    First Name           Middle Name           Last Name                       1. There is no presumption of abuse.

 Debtor 2            Sandra              Juanita               Wilson                          2. The calculation to determine if a presumption
 (Spouse, if filing) First Name          Middle Name           Last Name                          of abuse applies will be made under Chapter 7
                                                                                                  Means Test Calculation (Official Form 122A-2).
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS
                                                                                               3. The Means Test does not apply now because
 Case number                                                                                      of qualified military service but it could apply
 (if known)                                                                                       later.

                                                                                                 Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.


 Part 1:       Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

          Married and your spouse is NOT filing with you. You and your spouse are:

               Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
               declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
               and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).


     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions
     (before all payroll deductions).

3.   Alimony and maintenance payments. Do not include payments from a spouse
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                               page 1
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Debtor 1        Steven Lee Wilson
Debtor 2        Sandra Juanita Wilson                                                                                               Case number (if known)

                                                                                                                                         Column A     Column B
                                                                                                                                         Debtor 1     Debtor 2 or
                                                                                                                                                      non-filing spouse

5.   Net income from operating a business, profession, or farm

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all
     deductions)

     Ordinary and necessary operating                     –                              –
     expenses
                                                                                                                       Copy
     Net monthly income from a business,                                                                               here
     profession, or farm

6.   Net income from rental and other real property

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all
     deductions)

     Ordinary and necessary operating                     –                              –
     expenses
                                                                                                                       Copy
     Net monthly income from rental or                                                                                 here
     other real property

7.   Interest, dividends, and royalties

8.   Unemployment compensation

     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: ...............................................


         For you............................................................................................................................

         For your spouse..............................................................................................................

9.   Pension or retirement income. Do not include any amount received that
     was a benefit under the Social Security Act.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.




     Total amounts from separate pages, if any.                                                                                   +                  +
11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                                                                         +                 =
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                          Total current
                                                                                                                                                                          monthly income




Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                                page 2
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Debtor 1       Steven Lee Wilson
Debtor 2       Sandra Juanita Wilson                                                                               Case number (if known)

 Part 2:         Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a.    Copy your total current monthly income from line 11....................................................................................................................
                                                                                                                       Copy line 11 here                       12a.

            Multiply by 12 (the number of months in a year).                                                                                                               X          12

    12b.    The result is your annual income for this part of the form.                                                                                           12b.


13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.

    Fill in the number of people in your household.


    Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                          13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

    14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.
    14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                   Go to Part 3 and fill out Form 122A-2.


 Part 3:         Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X    /s/ Steven Lee Wilson                                                                     X    /s/ Sandra Juanita Wilson
           Steven Lee Wilson, Debtor 1                                                                    Sandra Juanita Wilson, Debtor 2

           Date 5/8/2019                                                                                  Date 5/8/2019
                MM / DD / YYYY                                                                                 MM / DD / YYYY

      If you checked line 14a, do NOT fill out or file Form 122A-2.

      If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                     Chapter 7 Statement of Your Current Monthly Income                                                                            page 3
